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                  UNITED STATES DISTRICT COURT

                  MIDDLE DISTRICT OF LOUISIANA



 ESROM DEMEKE                                         CIVIL ACTION

 VERSUS

 BOARD OF SUPERVISORS OF                              NO.: 19-00114-BAJ-RLB
 LOUISIANA STATE UNIVERSITY AND
 A&M COLLEGE, ET AL.

                                   ORDER

     IT IS ORDERED that the Evidentiary Hearing on the Notice of

Memorandum in Support of Plaintiff’s Motion for Preliminary Injunction

and Expedited Discovery (Doc. 32) set for November 15, 2019 at 9:30 AM is

RESCHEDULED to November 21, 2019 at 2:00 PM in Courtroom 2.



                      Baton Rouge, Louisiana, this 14TH day of November, 2019.




                                   _____________________________________
                                   JUDGE BRIAN A. JACKSON
                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF LOUISIANA
